         Case 1:20-cv-11531-ADB Document 15 Filed 03/01/21 Page 1 of 1




Re:    CASE NO. 1:20-CV-11531-ADB


Dear Judge Burroughs,

       I would be grateful if you could authorize ECF access for me so I can file documents

electronically going forward. I am familiar with ECF as I already file everything electronically in

my other cases in this court.

                                                     Yours sincerely,

                                                     /s/ Dr. Shiva Ayyadurai
                                                     _____________________
                                                     Dr. Shiva Ayyadurai
              March 1, 2021                          Plaintiff, pro se
                                                     701 Concord Ave,
                                                     Cambridge, MA 02138
                                                     Phone: 617-631-6874
                                                     Email: vashiva@vashiva.com
